       Case 1:24-cv-01671-CCC        Document 99      Filed 10/29/24    Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GUY RESCHENTHALER, et al.,                   :   CIVIL ACTION NO. 1:24-CV-1671
                                             :
                     Plaintiffs              :   (Judge Conner)
                                             :
              v.                             :
                                             :
AL SCHMIDT, et al.,                          :
                                             :
                     Defendants              :

                                         ORDER

       AND NOW, this 29th day of October, 2024, upon consideration of plaintiffs’

motion (Doc. 3) for temporary restraining order and preliminary injunction, and

further upon consideration of defendants’ motion (Doc. 28) to dismiss plaintiffs’

amended complaint (Doc. 23), and the briefs in support of and in opposition to the

parties’ respective motions, (see Docs. 5, 6, 29, 30, 51, 52; see also Docs. 55-2, 74-1,

86-1, 93-1), and for the reasons set forth in the accompanying memorandum of

today’s date, it is hereby ORDERED that:

       1.     Defendants’ motion (Doc. 28) to dismiss is GRANTED.

       2.     Plaintiffs’ amended complaint (Doc. 23) is DISMISSED without further
              leave to amend.

       3.     Plaintiffs’ motion (Doc. 3) for temporary restraining order and
              preliminary injunction is DENIED as moot.

       4.     The Clerk of Court shall CLOSE this case.


                                          /S/ CHRISTOPHER C. CONNER
                                          Christopher C. Conner
                                          United States District Judge
                                          Middle District of Pennsylvania
